Case 2:05-cr-20102-BBD Document 24 Filed 07/08/05 Pagelon F’atg_e_|l§)‘ldf

Fll.E) BY ,_.__.____ D.O.
iN THE UN|TED STATES D|STR|CT COURT

FOR THE WESTERN D|STR|CT OF TENNESSE
WESTERN D|V|S|ON EUS JUL 8 PH h l2

 

UN|TED STATES OF AMER|CA O$:l?i, l¢i'rWHS

O.EHDU.S BtSil§ClC€lRT
P|aintift

VS.
CR. NO. 05-20102-D

BR|AN EDWARD SLAYTON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August ‘l, 2005 with a
re ort date of Thursda Ju| 21 2005 at 9:00 a.m., in Courtroom 3. 9th F|oor of the

 

Federa| Bui|ding, Memphis, TN.
The period from July 15, 2005 through August 12, 2005 is excludable under 18

U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a s eedy trial.
is day of July, 2005.

|T |S SO ORDERED this

 

N|TED STATES D|STR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20102 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Timothy R. DiSeenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

